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        Attorneys for Plaintiffs
    9
        (See Notice of Motion and Motion for
   10   An Award of Attorneys’ Fees and Costs
        for Names and Addresses of
   11   Additional Counsel for Plaintiffs)
   12                          UNITED STATES DISTRICT COURT
   13                         CENTRAL DISTRICT OF CALIFORNIA
   14                                 WESTERN DIVISION
   15
        RICHARD B. CLARK, f/d/b/a                )   Case No. CV-08-3540 VBF (FFMx)
   16   AUSTIN'S BARBEQUE & TAVERN; )
   17   JJ MANAGMENT CO., INC.; and              )   CLASS ACTION
        MICHAEL RABINOWITZ, d/b/a                )
        GOODFELLOW AUTOMOTIVE,                   )   XXXXXXXXXXX ORDER GRANTING
                                                     [PROPOSED]
   18
        Individually and On Behalf of All Others )   PLAINTIFFS’ MOTION FOR
   19   Similarly Situated                       )   AWARD OF ATTORNEYS’ FEES
                                                     AND COSTS AND PLAINTIFFS’
                                                 )   COMPENSATION AWARDS
   20                Plaintiff,                  )
   21                                            )
              vs.                                )
   22                                            )
        ADVANCEME, INC., d/b/a SUPPLY )
   23   SERVICES,                                )
   24                Defendant.                  )
                                                 )
   25                                            )
                                                 )
   26                                            )
   27
                                                 )
        AND RELATED COUNTERCLAIMS. )
   28                                            )

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    1          WHEREAS,
    2          A.     On December 3, 2010, the parties to the above-described class action
    3   (the “Action”) entered into a Settlement Agreement (the “Settlement”), as amended
    4   by the Amendment to Settlement Agreement, dated March 14, 2011, and the Court,
    5   for purposes of this Order, hereby adopts the definitions set forth in the Settlement,
    6   as so amended;
    7          B.     On December 13, 2010, this Court entered an Order granting
    8   preliminary approval to the proposed settlement set forth in the Settlement,
    9   conditionally certifying the Settlement Class, appointing Class Counsel, and
   10   providing for notice to the Class (“Preliminary Approval Order”), and notice having
   11   been provided to the Settlement Class in accordance with the Preliminary Approval
   12   Order, and the Court’s Amended Order to Modify Forms of Notice to the Settlement
   13   Class of Class Action Settlement, filed on January 6, 2011;
   14          C.     The Class Representative Plaintiffs and Class Counsel having applied to
   15   the Court for an award of attorneys’ fees, costs and expenses and compensation
   16   awards to the plaintiffs;
   17          D.     The notice disseminated to Settlement Class Members in accordance
   18   with the Preliminary Approval Order, as amended, disclosed the amount of
   19   attorneys’ fees Class Counsel would seek, the maximum amount of costs and
   20   expenses for which Class Counsel would seek reimbursement, and the amounts in
   21   compensation awards plaintiffs would seek;
   22          E.     Pursuant to the Preliminary Approval Order, as amended, and as set
   23   forth in the notice disseminated to the Settlement Class, any objections to plaintiffs’
   24   and Class Counsel’s applications for attorneys’ fees and expenses and compensation
   25   awards to the plaintiffs were to be filed and served by February 11, 2011, and no
   26   objections to the applications having been filed, served or otherwise received;
   27          F.     Pursuant to the notice disseminated to the Settlement Class, and upon
   28   due notice to all parties, the Court held the Final Approval Hearing on March 28,

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    1   2011, to consider, among other things, whether the application for attorneys’ fees,
    2   costs and expenses and the compensation awards to plaintiffs should be approved by
    3   the Court; and
    4            G.    The Court having determined that the proposed settlement of the Action
    5   on the terms and conditions provided in the Settlement is fair, reasonable, and
    6   adequate to the Settlement Class and should be approved by the Court, and the Final
    7   Judgment should be entered as provided for in the Settlement, subject to the waiting
    8   period imposed by 28 U.S.C. § 1715(d);
    9            WHEREAS, the Court, having considered the presentations of counsel and all
   10   matters submitted to it at the hearing, along with all of the files, records, and
   11   proceedings in this Action, and otherwise having determined the fairness and
   12   reasonableness of the requests set forth in Plaintiffs’ Notice of Motion and Motion
   13   for an Award of Attorneys’ Fees and Costs and Plaintiffs’ Compensation Awards
   14   (the “Motion”), filed on January 12, 2011, and in the papers submitted in support
   15   thereof;
   16            NOW, THEREFORE, IT IS HEREBY FOUND, ORDERED,
   17   ADJUDGED AND DECREED, THAT:
   18            1.    This Court has jurisdiction over the subject matter of the Action, the
   19   application and all matters relating thereto, including all members of the Settlement
   20   Class.
   21            2.    Due, adequate and reasonable notice of the Motion and the attorneys’
   22   fees Class Counsel would request, the maximum amount of costs and expenses for
   23   which Class Counsel would seek reimbursement, and the amount of compensation
   24   awards which plaintiffs would seek, including notice as to how Settlement Class
   25   Members may inspect or obtain copies of the Motion and all supporting papers, was
   26   directed to all persons who were reasonably identifiable Settlement Class Members,
   27   advising them of the application set forth in the Motion and their right to object
   28   thereto.

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    1          3.     Susman Godfrey L.L.P. and Anat Levy & Associates, P.C. are hereby
    2   jointly awarded attorneys’ fees in the amount of $4,000,000.00 to be paid out of the
    3   Settlement Amount, plus a proportionate share of any interest accrued on the
    4   Settlement Amount, to be allocated among them in accordance with the terms of
    5   their agreement, and Susman Godfrey L.L.P. is hereby awarded reimbursement of
    6   costs and expenses in the amount of $292,065.04, and Anat Levy & Associates, P.C.
    7   is hereby awarded reimbursement of costs and expenses in the amount of $11,124.44,
    8   plus a proportionate share of any interest accrued on the Settlement Amount (“Fee
    9   and Expense Award”). This Fee and Expense Award shall be paid by the Escrow
   10   Agent from the Settlement Amount to Susman Godfrey L.L.P. subject to the terms,
   11   conditions, and obligations of the Settlement, and pursuant to the timing set forth in
   12   paragraph E.2 of the Settlement, or such earlier time as may be agreed to by Class
   13   Counsel and counsel for defendant AdvanceMe, Inc., which terms, conditions, and
   14   obligations are incorporated herein, and Susman Godfrey L.L.P. shall thereafter
   15   distribute or direct the distribution of those funds in accordance with this Order and
   16   the agreement of Class Counsel, as set forth in the Motion.
   17          4.     The Court finds that the amount of attorneys’ fees awarded is fair and
   18   reasonable under both the “percentage-of-the-recovery” and lodestar/multiplier
   19   methods for determining fee awards in light of, inter alia:
   20                 (a)   The attorneys’ fee award being on par with or below the
   21   percentages awarded in comparable cases;
   22                 (b)   The approximate $23.4 million in settlement consideration made
   23   available by the Settlement, in light of plaintiffs’ estimate of damages under their
   24   best-case scenario, and the risk to plaintiffs and the Settlement Class that they would
   25   obtain no recovery from defendant AdvanceMe, Inc. based on, among other things, a
   26   failure to prove liability or damages;
   27                 (c)   The quality of work by and the experience of Class Counsel, and
   28   the absence of any related governmental proceeding;

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    1                 (d)   The risks that Class Counsel undertook in pursuing this Action,
    2   including the risk that no recovery would be obtained for plaintiffs and the
    3   Settlement Class;
    4                 (e)   The time and effort involved, including the time and effort
    5   devoted by Class Counsel in overcoming defendant’s motions to dismiss and to
    6   determine the applicable law, conducting discovery involving the review and
    7   analysis of thousands of pages of documents and taking and defending multiple
    8   depositions, and negotiating the Settlement; and
    9                 (f)   Class Counsel’s lodestar “multiplier” of approximately 2.2.
   10   See Rodriguez v. West Publ’g Corp., 563 F.3d 948, 967 (9th Cir. 2009) (attorney’s
   11   fees must be “reasonable in the circumstances”); Vizcaino v. Microsoft Corp., 290
   12   F.3d 1043 (9th Cir. 2002) (examining factors, including risk of litigation, financial
   13   burden of contingent representation, result achieved, and customary fees for similar
   14   cases).
   15          5.     The Court finds that the reimbursement of the costs and expenses
   16   requested, including expert fees, the costs of computerized research, travel to attend
   17   hearings and depositions and mediation, court reporter fees, videographer fees,
   18   transcript fees, mediation fees, photocopying and printing costs, and telephone
   19   charges, are reasonable under the circumstances and typical of those billed by
   20   attorneys to paying clients in the marketplace. Harris v. Marhoefer, 24 F.3d 16, 19
   21   (9th Cir. 1994) (looking to whether expenses are of the type typically billed by
   22   attorneys to paying clients in the marketplace); In re Immune Response Sec. Litig.,
   23   497 F. Supp. 2d 1166, 1177 (S.D. Cal. 2007) (reimbursing expert fees that are
   24   “crucial or indispensable to the litigation at hand”).
   25          6.     Plaintiffs Richard B. Clark, JJ Management Co., Inc. and Michael
   26   Rabinowitz are hereby each awarded $15,000.00 for their services in this Action.
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    1          7.     The Court finds, in the exercise of its discretion, the foregoing awards to
    2   plaintiffs is fair and reasonable, and adequately supported by the record in this
    3   Action.
    4          8.     The foregoing awards to plaintiffs shall be paid by the Escrow Agent as
    5   provided in the Settlement.
    6          9.     The foregoing sets forth the Court’s findings of fact and conclusions of
    7   law regarding the application and the fairness and reasonableness of the awards made
    8   pursuant thereto in accordance with Rules 23(h)(3) and 52(a) of the Federal Rules of
    9   Civil Procedure.
   10          10.    The Court hereby retains and reserves continuing jurisdiction over the
   11   Action, the parties, the Members of the Settlement Class, the Settlement Amount and
   12   all matters relating to the administration, consummation, enforcement, and
   13   interpretation of the Settlement, and for any and all other purposes.
   14

   15          IT IS SO ORDERED.
   16
               Dated:      March 31      , 2011
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   19                                        Valerie Baker Fairbank
                                         UNITED STATES DISTRICT JUDGE
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